         Case 3:01-cv-00625-DGW               Document 152 Filed 09/27/06                   Page 1 of 1      Page ID
                                                        #744
OAO450 (Rev. 5/85) Judgment in a Civil Case


                                    UNITED STATES DISTRICT COURT
                    SOUTHERN                        DISTRICT OF                                  ILLINOIS


                    WILLIAM CARR
                                                                             JUDGMENT IN A CIVIL CASE
                             V.
                                                                             Case Number:               01-cv-625-DGW
             JONATHAN WALLS, et al.

X Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has
   rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and
   a decision has been rendered.

   IT IS ORDERED AND ADJUDGED
   defendants, Jonathan R. Walls, Roger D. Cowan, M. B. Spiller, and Pam Grubman, dismissed pursuant to an Order of
   the Honorable William D. Stiehl dated June 13, 2003.

   IT IS FURTHER ORDERED AND ADJUDGED that judgment in favor of defendants, Larry Whittenburg and Craig
   Hein, and against plaintiff William Carr, pursuant to the jury verdict of September 27, 2006.

   In light of the jury verdict, Plaintiff is not entitled to compensation or injunctive relief. As such, Plaintiff’s request
   for injunctive relief is DENIED.

   Plaintiff shall take nothing from this action.




9/27/06                                                              NORBERT G. JAWORSKI
Date                                                                 Clerk


                                                                     s/ Robin M. Butler
                                                                     (By) Deputy Clerk
APPROVED:
s/ Donald G. Wilkerson
DONALD G. WILKERSON
U.S. MAGISTRATE JUDGE
